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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JASMINE SMITH,                                 Case No.21-cv-09390-JST
                                                       Plaintiff,
                                   8
                                                                                        CLERK'S NOTICE SETTING CASE
                                                v.                                      MANAGEMENT CONFERENCE
                                   9

                                  10     GLAXOSMITHKLINE, PLC, et al.,                  Re: Dkt. No. 8
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          YOU ARE NOTIFIED THAT a Case Management Conference is set for March 8, 2022

                                  14   at 2:00 P.M. before the Honorable JON S. TIGAR. The Joint Case Management Conference

                                  15   Statement is due March 1, 2022 by 5:00 P.M.

                                  16

                                  17   Dated: December 7, 2021

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                                                                                     Mark B. Busby
                                  19                                                 Acting Clerk of Court, United States District Court
                                  20
                                                                                     By: ________________________
                                  21                                                 Mauriona Lee, Deputy Clerk to the
                                                                                     Honorable JON S. TIGAR
                                  22                                                 510-637-3530
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